              Case 2:17-cv-01505-MJP Document 93 Filed 02/22/19 Page 1 of 7



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                               UNITED STATES DISTRICT COURT
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                              WESTERN DISTRICT OF WASHINGTON
                                        AT SEATTLE
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10          JAIME PLASCENCIA and CECELIA                     CASE NO. 17-1505MJP
            PLASCENCIA,
11                                                           ORDER GRANTING MOTION TO
                                  Plaintiffs,                COMPEL AND MOTION FOR
12                                                           ATTORNEY’S FEES
                   v.
13
            COLLINS ASSET GROUP, LLC and
14          DANIEL N. GORDON, PC d/b/a
            GORDON, AYLWORTH & TAMI,
15          PC,

16                                Defendants.

17

18          THIS MATTER comes before the Court on Plaintiffs’ Motion to Compel. (Dkt. No. 81.)
19   Having reviewed the Motion, the Responses (Dkt. Nos. 84. 87), the Reply (Dkt. No. 91) and the
20   related record, the Court GRANTS the Motion.
21                                              Background
22          Plaintiffs Jaime and Cecelia Plascencia filed this action against Defendants Collins Asset
23   Group, LLC (“CAG”) and its law firm Gordon Aylworth & Tami (“GAT”) alleging violation of
24


     ORDER GRANTING MOTION TO COMPEL AND MOTION FOR ATTORNEY’S FEES - 1
               Case 2:17-cv-01505-MJP Document 93 Filed 02/22/19 Page 2 of 7



 1   the Fair Debt Collection Practices Act, 15 U.S.C. § 1692 et seq., the Washington Collections

 2   Agency Act, RCW 19.16 et seq., and the Washington Consumer Protection Act, RCW 19.86 et

 3   seq.. In support of their claims, Plaintiffs contend that CAG and GAT made false, deceptive, and

 4   misleading representations in their attempts to collect a debt. Relevant to this dispute, Plaintiffs

 5   contend that GAT has acted not merely as a law firm but as a debt collector, and in fact “may

 6   have taken its collection action against Plaintiff[s] on its own, without any express direction from

 7   [CAG].” (Dkt. No. 81 at 2.)

 8          In March 2018, Plaintiffs served the following discovery requests on CAG:

 9          REQUEST FOR PRODUCTION NO. 4: Produce all Communications between
            you and any third party related to the Loan. (To the extent you claim any type of
10          privilege, produce a privilege log sufficient to identify the Documents at issue and
            to evaluate the privilege.)
11
            REQUEST FOR PRODUCTION NO. 12: Produce all Documents (including
12          but not limited to account notes, collection records, computer screens, electronic
            logs, emails, text messages, voice recordings, or other media) relating to or
13          depicting anything concerning Plaintiff or his claims, including your internal file.

14          REQUEST FOR PRODUCTION NO. 17: Provide copies of any and all
            Documents relating to the nature and/or scope of the relationship between you and
15          any of the other Defendants herein, including but not limited to any contracts,
            business agreements, company policies and/or guidelines, or corporate
16          Documents.

17   (See Dkt. No. 82, Ex. A.)

18          In May 2018, Plaintiffs served the following discovery requests on GAT:

19          REQUEST FOR PRODUCTION NO. 4: Produce all Communications between
            you and any third party related to the Loan. (To the extent you claim any type of
20          privilege, produce a privilege log sufficient to identify the Documents at issue and
            to evaluate the privilege.)
21
            REQUEST FOR PRODUCTION NO. 8: Produce all Documents (including
22          but not limited to account notes, collection records, computer screens, electronic
            logs, emails, text messages, voice recordings, or other media) relating to or
23          depicting anything concerning Plaintiffs or their claims, including your internal
            file.
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     ORDER GRANTING MOTION TO COMPEL AND MOTION FOR ATTORNEY’S FEES - 2
                 Case 2:17-cv-01505-MJP Document 93 Filed 02/22/19 Page 3 of 7



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               REQUEST FOR PRODUCTION NO. 12: Provide copies of any and all
 2             Documents relating to the nature and/or scope of the relationship between you and
               any of the other Defendants herein, including but not limited to any contracts,
 3             business agreements, company policies and/or guidelines, or corporate
               Documents.
 4
               REQUEST FOR PRODUCTION NO. 15: All documents relating to Your
 5             guidelines and/or practices for handling Debt collection matters for Collins Asset
               Group, LLC.
 6
     (Dkt. No. 82, Ex. B.)
 7
               In response, CAG and GAT variously asserted that the requests were overbroad and
 8
     unduly burdensome and that responsive documents were protected by the attorney-client
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     privilege and work product protection. (See Dkt. No. 81 at 2-3.) The privilege log provided by
10
     CAG listed a single, redacted document. (Dkt. No. 82, Ex. E.) The privilege log provided by
11
     GAT listed a “History Report” (which it claimed was subject to attorney-client privilege because
12
     it contained “an electronic log of the law firm activity during its representation of CAG in the
13
     state court collection case currently pending against the Plascencias”) and an “Attorney/Client
14
     Contract & Fee Agreement” (which it claimed was subject to attorney-client privilege because it
15
     “sets out fee agreement, contract, and relationship between attorney and client”). (Dkt. No. 82,
16
     Ex. J.)
17
               In August 2018, CAG’s Fed. R. Civ. P. 30(b)(6) witness disclosed the existence of
18
     additional responsive documents that were not turned over or listed in its privilege log. (Dkt.
19
     No. 81 at 3.) In October 2018, during one of many discovery conferences initiated by counsel
20
     for Plaintiffs, CAG indicated that those documents would be forthcoming the following week.
21
     (Id. at 4.) When CAG failed to deliver those documents, counsel for Plaintiffs drafted a LCR 37
22
     Joint Motion in an effort to resolve the remaining discovery disputes. (Id.) Neither CAG nor
23
     GAT responded, and apparently, that was the last that Plaintiffs heard from them. (Id.)
24


     ORDER GRANTING MOTION TO COMPEL AND MOTION FOR ATTORNEY’S FEES - 3
                Case 2:17-cv-01505-MJP Document 93 Filed 02/22/19 Page 4 of 7



 1            On January 29, 2019, Plaintiffs filed this Motion to Compel. On February 11, 2019,

 2   counsel for CAG produced the documents identified during the deposition and asked Plaintiffs to

 3   strike the Motion to Compel. (See Dkt. No. 92, Ex. A.) However, several items remain in

 4   dispute including (1) whether GAT’s “History Report” and “Attorney/Client Contract & Fee

 5   Agreement” are privileged; (2) whether GAT’s “policies and procedures” were properly redacted

 6   prior to production; and (3) whether CAG has properly responded to RFPs 4, 12, and 17. (See

 7   Dkt. No. 91 at 3.)

 8                                                Discussion

 9      I.       Motion to Strike

10            As an initial matter, Plaintiffs move to strike the over-length portions of GAT’s

11   Response. (Dkt. No. 84.) Under LCR 7(e)(4), the responsive brief was limited to twelve pages,

12   and GAT did not seek prior authorization to exceed the page limit. Under LCR 6(e), “[t]he court

13   may refuse to consider any text . . . which is not included within the page limits.” Accordingly,

14   the Court GRANTS Plaintiffs’ request to strike and declines to consider the over-length portions

15   of GAT’s response.

16      II.      Motion to Compel

17            The Court GRANTS the Motion to Compel. Plaintiffs have a legitimate claim for the

18   outstanding materials they seek. In particular, Plaintiffs claim that GAT was acting not as a law

19   firm, but rather as a collection agency, in its handling of their debt. Materials concerning the

20   relationship between CAG and GAT, including materials indicating whether CAG directed GAT

21   to file suit against Plaintiffs and what information GAT had at the time did so, are highly

22   relevant to this claim. Defendants have failed to provide adequate responses and have failed to

23   establish the existence of any privilege.

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     ORDER GRANTING MOTION TO COMPEL AND MOTION FOR ATTORNEY’S FEES - 4
                 Case 2:17-cv-01505-MJP Document 93 Filed 02/22/19 Page 5 of 7



 1             First, the privilege logs provided by CAG and GAT are entirely deficient in that they do

 2   not make clear whether materials are protected by the attorney client privilege, work product

 3   protection, or both, and do not “describe the nature of the documents, communications, or

 4   tangible things not produced or disclosed . . . in a manner that, without revealing information

 5   itself privileged or protected, will enable other parties to assess the claim” as required by Fed. R.

 6   Civ. P. 26(b)(5). For example, CAG’s privilege log provides no explanation whatsoever for why

 7   the “policies and procedures” were redacted. (See Dkt. No. 82, Ex. E.) GAT’s privilege log

 8   appears to combine multiple documents—presumably with different dates and functions—into a

 9   single “History Report,” which it describes vaguely as “an electronic log of law firm activity.”

10   (See Dkt. No. 82, Ex. J.) Further, GAT provides no support whatsoever for its claim that an

11   attorney’s contract or fee agreement is privileged or protected. (Id.)

12             Second, in addition to failing to provide an adequate privilege log, it appears that CAG

13   may have withheld responsive, non-privileged documents based solely on their belief that RFPs

14   4, 12, and 17 are “overbroad and unduly burdensome,” without providing any explanation as to

15   why this is the case. (See Dkt. No. 81 at 4-7.)

16      III.      Request for Attorneys’ Fees

17             The Court GRANTS Plaintiffs’ request for attorney’s fees. Fed. R. Civ. P. 37(a)(5)(A)

18   provides that if a motion to compel is granted—“or if the disclosure or requested discovery is

19   provided after the motion was filed,” the Court “must, after giving an opportunity to be heard,

20   require the party whose conduct necessitated the motion, the party or attorney advising that

21   conduct, or both to pay the movant’s reasonable expenses incurred in making the motion,

22   including attorney’s fees.”

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     ORDER GRANTING MOTION TO COMPEL AND MOTION FOR ATTORNEY’S FEES - 5
               Case 2:17-cv-01505-MJP Document 93 Filed 02/22/19 Page 6 of 7



 1          Whether or not there are additional responsive, non-privileged documents uncovered

 2   during the Court’s in camera review, it appears that CAG and GAT have failed to comply with

 3   their discovery obligations throughout the course of the litigation and have failed to show that an

 4   award of fees would be unwarranted. See Fed. R. Civ. P. 37(a)(5)(A)(i)-(iii). In this regard, the

 5   Court finds two facts particularly salient: First, Plaintiffs repeatedly attempted to obtain the

 6   disputed discovery without court action, including by requesting multiple discovery conferences

 7   and by submitting a draft of an LCR 37 Joint Motion to Defendants. Neither CAG nor GAT

 8   responded, forcing Plaintiffs to bring this Motion to Compel. (Dkt. No. 81 at 4.) Second, nearly

 9   two weeks after Plaintiffs filed the Motion, CAG turned over additional responsive documents

10   that it apparently had in its possession and failed to timely produce. (Dkt. No. 87 at 4-5; Dkt.

11   No. 91 at 7.) Such failure to comply with discovery obligations is not justified and cannot be

12   condoned.

13          Accordingly, Defendants are ORDERED to pay Plaintiffs’ expenses of $9,987.50, which

14   is the amount of fees the Court finds was reasonably incurred by Ms. Henry and Mr. Barazza in

15   drafting the LCR 37 Joint Motion and in bringing the Motion to Compel. (See Dkt. No. 82, Ex.

16   Q; Dkt. No. 83, Ex. 2; Dkt. No. 92, Ex. 2.)

17                                                 Conclusion

18          For the reasons discussed above, the Court hereby ORDERS as follows:

19      (1) The Motion to Compel is GRANTED;

20      (2) CAG and GAT are ORDERED to:

21               (a) Produce revised privilege logs which make clear, on a document-by-document

22                  basis, whether they are asserting attorney client privilege, work product

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     ORDER GRANTING MOTION TO COMPEL AND MOTION FOR ATTORNEY’S FEES - 6
             Case 2:17-cv-01505-MJP Document 93 Filed 02/22/19 Page 7 of 7



 1                  protection, or both, and which will allow both Plaintiffs and the Court to assess

 2                  their claims;

 3               (b) Submit to Plaintiffs and the Court the revised privilege logs; and

 4               (c) Submit to the Court for in camera review all responsive documents over which

 5                  they are claiming privilege;

 6      (3) CAG is further ORDERED to submit to Plaintiffs supplemental responses to RFPs 4, 12,

 7         and 17, including identification of non-privileged documents that have been withheld as

 8         overbroad and unduly burdensome;

 9      (4) Defendants are ORDERED to pay Plaintiffs’ attorney’s fees in the amount of $9,987.50;

10         and

11      (5) Defendants are to comply with the foregoing within seven (7) days of the date of this

12         Order.

13
           The clerk is ordered to provide copies of this order to all counsel.
14
           Dated February 22, 2019.
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                                                           Marsha J. Pechman
18                                                         United States District Judge

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     ORDER GRANTING MOTION TO COMPEL AND MOTION FOR ATTORNEY’S FEES - 7
